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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRlCT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

VS. NO. 04-20388-Ma

JAMES C. MOORE,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant’s May 6, 2005 motion to continue the sentencing
hearing For good cause shown, the motion is granted The Sentencing of defendant James C.
Moore is reset to Wednesday, June 15, 2005 at 1 :30 p.m.

lt is 30 oRDERED this ' ' ¢‘day OfMay, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

        
 

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nuance

 

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Honorable Samuel Mays
US DISTRICT COURT

